
655 S.E.2d 402 (2007)
STATE of North Carolina
v.
Steven Craig YOUNG.
No. 354P07.
Supreme Court of North Carolina.
November 8, 2007.
Steven Craig Young, Pro Se.
Charles E. Reece, Assistant Attorney General, Sam Currin, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 23rd day of July 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th day of November 2007."
Upon consideration of the petition filed by Defendant on the 27th day of August 2007 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 8th day of November 2007."
